            Case 1:18-cv-02582-DLF Document 9 Filed 01/25/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN OVERSIGHT,

                        Plaintiffs,

                 v.                                Civil Action No.: 18-2582-DLF

 UNITED STATES DEPARTMENT OF
 EDUCATION,

                        Defendant.


                               PLAINTIFF’S STATUS REPORT

       Plaintiff, by and through undersigned counsel, respectfully submits this status report

pursuant to the Court’s January 4, 2019 Minute Order instructing parties to file a status report five

days after Congress restores appropriations to the Department of Justice or on January 25, 2019,

whichever is earlier. See Min. Order (Jan. 4, 2019).

       1.      At issue are six Freedom of Information Act (“FOIA”) requests that Plaintiffs

submitted to Defendant on April 27, 2018.

       2.      Due to the partial government shutdown’s effect on the Department of Justice, the

parties’ counsel have not been able to confer with regard to the status of Defendant’s search and

review of documents responsive to Plaintiff’s FOIA requests.

       3.      It is Plaintiff’s understanding that Defendant, the United States Department of

Education, has already been funded through previous congressional legislation and is operating

normally.

       4.      On the afternoon of January 25, 2019, President Trump announced an agreement

to re-open the government through February 15, 2019.
            Case 1:18-cv-02582-DLF Document 9 Filed 01/25/19 Page 2 of 2




       5.      Plaintiff proposes that the parties meet and confer regarding the status of

Defendant’s search and review of documents responsive to Plaintiff’s FOIA requests and submit

a Joint Status Report on February 1, 2019.



January 25, 2019                             Respectfully submitted,


                                             /s/ Hart W. Wood
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